                        Case 23-10253-KBO       Doc 1040      Filed 02/04/25      Page 1 of 2




                              IN THE UNITED STATES BANKRUPTCY COURT
                                   FOR THE DISTRICT OF DELAWARE


                                                              Chapter 7
    In re:
                                                              Case No. 23-10253 (KBO)
    AKORN HOLDING COMPANY LLC, et al.2                        (Jointly Administered)

                                   Debtors.                   Related D.I.: 1034, 1038



             ORDER APPROVING PROCEDURES REGARDING SETTLEMENTS OF
              AVOIDANCE CLAIMS PURSUANT TO BANKRUPTCY RULE 9019(b)

          Upon consideration of the Motion for Approval of Procedures Regarding Settlements of

Avoidance Claims Pursuant to Bankruptcy Rule 9019(b) (the “Motion”) filed by George L. Miller,

the Chapter 7 trustee (the “Trustee”) of the bankruptcy estates of the above-captioned debtors in

the above-captioned chapter 7 cases; and the Court having jurisdiction to decide the Motion and

the relief requested therein; it appearing that approval of the Motion is warranted; and that due and

timely notice of the Motion has been given, it is hereby:

          ORDERED that the Motion is GRANTED in its entirety; and it is further

          ORDERED that the Trustee is authorized, but not directed, to compromise and settle

Avoidance Claims3 pursuant to the following Settlement Procedures:

             a.          Avoidance Claims with Gross Transfers of $500,000 or less: The Trustee will be
                         free to consummate settlements in this class in his business judgment by filing a
                         notice of settlement with the Court (a “Notice of Settlement”), without further
                         hearing, unless an objection is filed to the Notice of Settlement. The Notice of
                         Settlement may include multiple settlements in one notice, and will provide an

2
      The Debtors in these chapter 7 cases, along with the last four digits of their federal tax
      identification numbers, and cases numbers are Akorn Holding Company LLC (9190), Case
      No. 23-10253 (KBO); Akorn Intermediate Company LLC (6123), Case No. 23-10254 (KBO);
      and Akorn Operating Company LLC (6184), Case No. 23- 10255. The Debtors’ headquarters
      is located at 5605 CenterPoint Court, Gurnee, IL 60031.
3
      Terms not otherwise defined herein shall have the meanings ascribed to them in the Motion.


                                                        -4-
55039380.1 02/03/2025
                        Case 23-10253-KBO        Doc 1040      Filed 02/04/25     Page 2 of 2




                         objection deadline of seven (7) calendar days from the date of filing the Notice of
                         Settlement. The Notice of Settlement shall be served on the U.S. Trustee and any
                         counterparty to a settlement. Such notice, along with notice of electronic filing of
                         Notice of Settlement issued through the Court’s Electronic Filing System, shall
                         constitute adequate and sufficient service of the Notice of Settlement. If an
                         objection is filed, the objecting party and Trustee shall confer and, should the
                         objection not be resolved, set the objection for hearing at the next regularly-
                         scheduled omnibus hearing.

             b.          Avoidance Claims with Gross Transfers Greater Than $500,000: With regard
                         to any Avoidance Claim in which the gross transfers are greater than $500,000, the
                         Trustee shall seek Court approval of the proposed settlement pursuant to
                         Bankruptcy Rule 9019(a).

             If no objections are timely and properly filed and served by the objection deadline, the

Trustee is authorized to submit a proposed form of order approving one or multiple settlements of

the potential Avoidance Claims, under certification of counsel (the “Proposed Order”). A proposed

settlement will be deemed final and fully authorized by the Court upon the entry of the Proposed

Order without further notice or a hearing, and the Trustee shall be authorized to consummate such

settlement. In the event a proposed settlement may terminate prior to entry of a Proposed Order or

is otherwise time-sensitive, the Trustee is authorized to consummate such settlement prior to entry

of a Proposed Order, provided that the terms of such settlement are expressly subject to entry of

the Proposed Order; and it is further

             ORDERED that this Court shall retain jurisdiction over the interpretation and enforcement

of the Motion and this Order.




      Dated: February 4th, 2025                                KAREN B. OWENS
      Wilmington, Delaware                                     UNITED STATES BANKRUPTCY JUDGE


                                                         -5-
55039380.1 02/03/2025
